      Case 1:24-cr-10048-MLW Document 167 Filed 07/16/24 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
                                            )
             v.                             )         CR. No. 24-10048-MLW
                                            )
CRAIG MEDOFF,                               )
     Defendant.                             )

                                       ORDER
WOLF, D.J.                                                           July 16, 2024


     With regard to defendant Craig Medoff’s Emergency Assented to

Motion to Grant Access to Sealed Financial Documents to U.S.P.O.

and A.U.S.A. for Purposes of Sentencing (Dkt. No. 166), it is hereby

ORDERED that:

     1. The request to provide Probation and the government with

the financial affidavits referenced in Medoff’s motion (Dkt. Nos.

90, 103, 121, 131) is ALLOWED. As those submissions can only be

understood in the context of the affidavit that Medoff filed to

obtain the appointment of Criminal Justice Act counsel (Dkt. No. 4)

and the April 30, 2024 Order (Dkt. No. 76) concerning information

in that affidavit, these documents (Dkt. Nos. 4, 76) shall also be

provided to Probation and the government.

     2.   As      the     court   intends       to   address   the   accuracy   and

completeness of the foregoing           documents at Medoff’s sentencing




                                            1
         Case 1:24-cr-10048-MLW Document 167 Filed 07/16/24 Page 2 of 2




hearing, the request to keep them under seal is DENIED. See United

States v. Kravetz, 706 F.3d 47, 56-59 (1st Cir. 2013); F.T.C. v.

Standard Fin. Mgmt. Corp., 830 F.2d 404, 409, 411-12 (1st Cir.

1987).




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